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 7

 8

 9                              UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11

12   CAROLINA GONZALEZ, individually                No.
     and on behalf of all others similarly
13   situated,

14                     Plaintiff,                   CLASS ACTION COMPLAINT

15          v.

16   PROHEALTH, a California corporation,           JURY DEMAND

17                     Defendant.

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 1          Plaintiff, individually and on behalf of all others similarly situated, files this Class Action

 2   Complaint against Defendant ProHealth (“Defendant”), and upon information and belief, alleges

 3   as follow:

 4                                      NATURE OF THE ACTION
 5          1.      This is a consumer class action arising from Defendant’s deceptive and unfair
 6   advertising, marketing, and sale of a worthless, misbranded drug, in violation of California’s
 7   consumer protection laws.
 8
                                       JURISDICTION AND VENUE
 9
            2.      This Court has jurisdiction over the subject matter of this action pursuant to 28
10
     U.S.C. § 1332(d)(2)(A), because at least one member of the Class is a citizen of a different state
11
     than Defendant, there are more than 100 members of the Class, and upon information and belief
12
     the aggregate amount in controversy exceeds $5,000,000.00 exclusive of interest and costs.
13
            3.      This Court has personal jurisdiction over Defendant because Defendant conducts
14
     business in this District and in the State of California.
15
            4.      Venue is also proper in this Court because Plaintiff resides in this District and a
16
     substantial part of the events or omissions giving rise to the claims occurred in this District.
17
                                                   PARTIES
18
            5.      At all relevant times, Plaintiff Carolina Gonzalez was a citizen of Miami, Florida.
19
            6.      At all relevant times, Defendant was a California corporation with its principal
20
     place of business at 555 Maple Ave., Carpinteria, California 93013.
21

22                                      FACTUAL ALLEGATIONS

23          7.      Throughout the Class Period (defined below), Defendant marketed, advertised, and

24   sold Full Spectrum™ St. John’s Wort Extract (“Product”).

25          8.      During the Class Period, Defendant’s website made the following claims regarding

26   the Product:

27                  a.      “Effective for mild to moderate depression”; and

28                  b.      “Reduces anxiety”
                                                        2
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 1          9.        The labeling of the Product purported to give directions for its intended use.

 2          10.       On February 18, 2021, the U.S. Food and Drug Administration, Center for Food

 3   Safety and Applied Nutrition (CFSAN), sent a warning letter to Defendant in which it explained

 4   that the Product is misbranded under section 502(f)(1) of the Federal Food, Drug, and Cosmetic

 5   Act (“FDCA”), 21 U.S.C. § 352(f)(1) (“Warning Letter”):

 6          This is to advise you that the Food and Drug Administration (FDA) reviewed
 7          your website at the Internet address www.prohealth.com in December 2020 and
            has determined that you take orders there for your Full Spectrum™ St. John’s
 8          Wort Extract product. The claims on your website establish that your product is
            a drug under section 201(g)(1)(B) of the Federal Food, Drug, and Cosmetic Act
 9          (the Act) [21 U.S.C. § 321(g)(1)(B)] because it is intended for use in the cure,
            mitigation, treatment, or prevention of disease. As explained further below,
10
            introducing or delivering this product for introduction into interstate commerce
11          violates the Act. You can find the Act and FDA regulations through links on
            FDA’s home page at www.fda.gov.
12
            Examples of some of the website claims that provide evidence that your “Full
13          Spectrum™ St. John’s Wort Extract” is intended for use as a drug include:
14
            On the webpage for “Full Spectrum™ St. John’s Wort Extract”:
15
                  •   “Effective for mild to moderate depression”
16                •   “Reduces anxiety”
17          Your Full Spectrum™ St. John’s Wort Extract product is not generally
18          recognized as safe and effective for the above referenced uses and, therefore,
            this product is a “new drug” under section 201(p) of the Act [21
19          U.S.C. § 321(p)]. With certain exceptions not applicable here, new drugs may
            not be legally introduced or delivered for introduction into interstate commerce
20          without prior approval from FDA, as described in sections 301(d) and 505(a) of
            the Act [21 U.S.C. §§ 331(d), 355(a)]. FDA approves a new drug on the basis of
21          scientific data and information demonstrating that the drug is safe and effective.
22
            A drug is misbranded under section 502(f)(1) of the Act [21 U.S.C. § 352(f)(1)]
23          if the drug fails to bear adequate directions for its intended use(s). “Adequate
            directions for use” means directions under which a layperson can use a drug
24          safely and for the purposes for which it is intended (21
            C.F.R. § 201.5). Prescription drugs, as defined in section 503(b)(1)(A) of the
25
            Act [21 U.S.C. § 353(b)(1)(A)], can only be used safely at the direction, and
26          under the supervision, of a licensed practitioner.

27          Your Full Spectrum™ St. John’s Wort Extract product is intended for treatment
            of one or more diseases that are not amenable to self-diagnosis or treatment
28
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 1          without the supervision of a licensed practitioner. Therefore, it is impossible to
            write adequate directions for a layperson to use your product safely for its
 2          intended purposes. Accordingly, your Full Spectrum™ St. John’s Wort Extract
 3          product fails to bear adequate directions for its intended use and, therefore, the
            product is misbranded under section 502(f)(1) of the Act [21
 4          U.S.C. § 352(f)(1)]. The introduction or delivery for introduction into interstate
            commerce of these misbranded drugs violates section 301(a) of the Act [21
 5          U.S.C. § 331(a)].
 6          The violations cited in this letter are not intended to be an all-inclusive statement
 7          of violations that exist in connection with your marketed products. You are
            responsible for investigating and determining the causes of any violations and
 8          for preventing their recurrence or the occurrence of other violations. It is your
            responsibility to ensure that your firm complies with all requirements of federal
 9          law, including FDA regulations.
10
            You should take prompt action to address the violations cited in this
11          letter. Failure to promptly address these violations may result in legal action
            without further notice, including, without limitation, seizure and injunction.
12
            Please notify FDA in writing, within fifteen working days of receipt of this
13          letter, of the specific steps that you have taken to address these
            violations. Include an explanation of each step being taken to prevent the
14
            recurrence of violations, as well as copies of related documentation. If you
15          believe that your products are not in violation of the Act, include your reasoning
            and any supporting information for our consideration. If you cannot complete
16          addressing these violations within fifteen working days, state the reason for the
            delay and the time within which you will do so. Your reply should be sent via e-
17          mail to FDAAdvisory@fda.hhs.gov.
18
            Sincerely,
19
            /S/
20
            William A. Correll Jr.
21          Director
22          Office of Compliance
            Center for Food Safety and Applied Nutrition
23          Food and Drug Administration

24          11.     Because the Product is a misbranded drug that is unlawful to sell, it is a worthless

25   product. Further, the Product’s advertising and labeling is deceptive because, as the Warning

26   Letter notes, the Product is “not generally recognized as safe and effective for the above

27   referenced uses” and because “it is impossible to write adequate directions for a layperson to use

28   [the P]roduct safely for its intended purposes.”
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 1           12.     Plaintiff and the members of the Class purchased the Product during the Class

 2   Period and suffered damages as a result.

 3                                           CLASS ALLEGATIONS
 4           13.     This action is brought and is properly maintained as a class action pursuant to Fed.
 5   R. Civ. P. 23(a), (b)(2), and (b)(3).
 6           14.     Plaintiff seeks to certify a nationwide class (“Class”) defined as follows:
 7                   All persons who purchased the Product during the period
                     beginning four years before the filing of this action and the date
 8
                     of class notice.
 9           15.     In the alternative, Plaintiff seeks to certify a California Subclass (“Subclass”)
10   defined as:
11                   All persons who purchased the Product in the state of
                     California during the period beginning four years before the
12                   filing of this action and the date of class notice.
13           16.     The Class and the Subclass are collectively referred to as the “Class.”
14           17.     Excluded from the Class are Defendant, its subsidiaries and affiliates, its officers,
15   directors and member of their immediate families and any entity in which Defendant has a
16   controlling interest, the legal representatives, heirs, successors or assigns of any such excluded
17   party, the judicial officer(s) to whom this action is assigned, and the members of their immediate
18   families.
19           18.     Plaintiff reserves the right to modify or amend the definition of the proposed Class
20   and/or to add subclasses if necessary before this Court determines whether certification is
21   appropriate.
22           19.     Numerosity. The precise number of members for the Class are unknown to
23   Plaintiff at this time and can only be determined through appropriate discovery. Based upon
24   information and belief, Plaintiff alleges that the number of potential class members are
25   geographically distributed across the country and the state and are so numerous that joinder
26   would be impracticable.
27           20.     Commonality. Common questions of law and fact exist as to all members of the
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                                                       5
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 1   Class and predominate over any questions affecting only individual Class members. Those

 2   common questions of fact and law include, but are not limited to, the following: (a) whether

 3   Defendant’s sold a misbranded drug; (b) whether Defendant’s marketing, advertising, and sale of

 4   the Product would deceive a reasonable consumer; (c) whether Plaintiff suffered damages caused

 5   by Defendant and the measure of those damages; (d) whether Plaintiff is entitled to injunctive

 6   relief; and (e) whether Defendant was unjustly enriched.

 7          21.     Typicality. Plaintiff’s claims are typical of the claims of all other members of the

 8   Class because all such arise from Defendant’s false and deceptive marketing, advertising, and sale

 9   of a misbranded Product, and Plaintiff is not subject to any unique defenses.

10          22.     Adequacy of representation. Plaintiff will fairly and adequately protect the

11   interests of the Class. Plaintiff has retained counsel highly experienced in complex consumer

12   class action litigation, and Plaintiff intends to vigorously prosecute this action. Plaintiff has no

13   known conflicts of interest with any members of the Class; its interests and claims are not

14   antagonistic to those of any other Class members; nor are its claims subject to any unique

15   defenses.

16          23.     Superiority. A class action is superior to all other available means for the fair and

17   efficient adjudication of this controversy. The damages or other financial detriment suffered by

18   individual Class members is relatively small compared to the burden and expense that would be

19   involved in individual litigation of their claims. It would, thus, be virtually impossible for the

20   Class, on an individual basis, to obtain effective redress for the wrongs committed against them.

21   Furthermore, even if Class members could afford such individualized litigation, the court system

22   could not. Individualized litigation would create the danger of inconsistent or contradictory

23   judgments arising from the same set of facts. Individualized litigation would also increase the

24   delay and expense to all parties and the court system from the issues raised by this action. By

25   contrast, the class action device provides the benefits of adjudication of these issues in a single

26   proceeding, economies of scale, and comprehensive supervision by a single United States District

27   Court, and presents no unusual management difficulties under the circumstances here.

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 1                                                  COUNT I

 2           Violation of the Consumer Legal Remedies Act, Cal. Civ. Code § 1750, et seq.

 3           24.       Plaintiff realleges and incorporates by reference the allegations above as though

 4   fully set forth herein.

 5           25.       The Consumer Legal Remedies Act (“CLRA”) “shall be liberally construed and

 6   applied to promote its underlying purposes, which are to protect consumers against unfair and

 7   deceptive business practices and to provide efficient and economical procedures to secure such

 8   protection.” Cal. Civ. Code § 1760.

 9           26.       Plaintiff and the other Class members are consumers as defined by Cal. Civ. Code

10   § 1761(d).

11           27.       The Product is a good as defined by Cal. Civ. Code § 1761(a).

12           28.       As alleged herein, Defendant deceptively marketed, advertised, and sold a Product

13   that: (1) is not effective for its promoted use; (2) includes false and deceptive instructions for use

14   on its label; and (3) is a misbranded drug under the FDCA and, thus, is worthless.

15           29.       In doing so, Defendant violated the CLRA by engaging in the following practices

16   proscribed by Cal. Civ. Code § 1770(a) in transactions that were intended to result in, and did

17   result in, the sale of goods to consumers, including Plaintiff and other Class members:

18                     a.      Representing that goods or services have sponsorship, approval,

19   characteristics, ingredients, uses, benefits, or quantities which they do not have or that a person

20   has a sponsorship, approval, status, affiliation, or connection which he or she does not have

21   (§ 1770(a)(5)); and

22                     b.      Advertising goods or services with intent not to sell them as advertised

23   (§ 1770(a)(9)).

24           30.       Defendant’s deceptive practices would deceive a reasonable consumer.

25           31.       Defendant’s deceptive practices relate to material facts.

26           32.       Plaintiff and the Class members purchased Defendant’s Product and, thus, suffered

27   damages in that they overpaid to purchase a deceptively advertised and labeled, and unlawful

28   product.
                                                         7
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 1             33.     Plaintiff and the Class members would not have purchased the Product but for

 2   Defendant’s deceptive acts and practices alleged herein.

 3             34.     Plaintiff provided notice to Defendant pursuant to Cal. Civ. Code § 1782. See

 4   Exhibit A.

 5             35.     Pursuant to Cal. Civ. Code § 1780(d), Plaintiff has prepared and attached an

 6   affidavit stating facts showing that this action has been commenced in a county described as a

 7   proper place for the trial. See Exhibit B.

 8             36.     Pursuant to Cal. Civ. Code § 1782(d), Plaintiff seeks an order enjoining the above

 9   described wrongful acts and practices and for restitution and disgorgement. Plaintiff also seeks

10   actual, punitive, and statutory damages, as well as costs and attorneys’ fees pursuant to Cal. Civ.

11   Code §§ 1780(e) and 1021.5.

12                                                   COUNT II

13                                              Unjust Enrichment

14             37.     Plaintiff realleges and incorporates by reference the allegations above, except for

15   those in the preceding count, as though fully set forth herein.

16             38.     Plaintiff pleads this claim in the alternative.

17             39.     Plaintiff has conferred a substantial monetary benefit on Defendant, as alleged

18   herein.

19             40.     Defendant knowingly and willingly accepted and retained such monetary benefit

20   from Plaintiff.

21             41.     The circumstances are such that it would be inequitable for Defendant to retain

22   that benefit without paying Plaintiff the value thereof.

23             42.     Without intervention by this Court, Defendant will be unjustly enriched at the

24   expense of, and to the detriment of, Plaintiff.

25             43.     Plaintiff has no adequate remedy at law.

26                                           PRAYER FOR RELIEF
27             WHEREFORE, the Plaintiff, individually and on behalf of the Class, demands relief and
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                                                          8
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 1   judgment as follows:

 2          1.     For an Order certifying this action as a Class Action and appointing Plaintiff as

 3   Class Representative and her counsel as Class Counsel;

 4          2.     For an award of compensatory damages for the Class in amounts owed by

 5   Defendant;

 6          3.     For declaratory and injunctive relief to be entered for Plaintiff and the Class;

 7          4.     For all other damages according to proof;

 8          5.     For an award of attorney’s fees and expenses as appropriate pursuant to applicable

 9   law;

10          6.     For costs of suit incurred herein;

11          7.     For pre and post judgment interests on any amounts awarded;

12          8.     For other and further forms of relief as this Court deems just and proper.

13                                            JURY DEMAND

14          Plaintiff hereby demands a trial by jury as to all issues so triable.

15
     Dated: June 11, 2021                                       Respectfully submitted,
16
                                                            By: /s/ Scott Edelsberg
17
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